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                    Exhibit 1-N
       Evidence Packet in Support of Defendant’s Motions for Summary Judgment


        U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                  Evidence Packet P.0301
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                                                       Evidence Packet P.0302
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                                                       Evidence Packet P.0303
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                                                       Evidence Packet P.0304
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                                                       Evidence Packet P.0305
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                                                       Evidence Packet P.0306
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                                                       Evidence Packet P.0307
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                                                       Evidence Packet P.0308
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                                                       Evidence Packet P.0309
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                                                        Evidence Packet P.0310
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                                                        Evidence Packet P.0311
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